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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

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    (Admissions pro hac vice pending)

    PROPOSED ATTORNEYS FOR DEBTOR
    In re:                                                          Chapter 11

    LTL MANAGEMENT LLC,1                                            Case No.: 23-12825 (MBK)

                                Debtor.                             Judge: Michael B. Kaplan


                                     DECLARATION OF RANDI S. ELLIS

             Pursuant to Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), Randi S. Ellis declares:

                     1.       I submit this declaration in support of the Debtor’s Motion for an Order

Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants (the “Motion”).2



1
             The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.
2
             Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.


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                 2.     I am an attorney at law admitted to practice before the state and federal

courts in Louisiana and Texas and am a member of the law firm of Randi S. Ellis, LLC

(the “Firm”), with offices at 5757 Indian Circle, Houston, TX 77057. I am in good standing with

all courts in which I am admitted. My curriculum vitae is attached as Schedule 1.

                 3.     On March 18, 2022, the Court appointed me as the legal representative for

future talc claimants in the Debtor’s 2021 Chapter 11 Case. See In re LTL Mgmt. LLC,

No. 21-30589 (MBK) (Bankr. D.N.J. Mar. 18, 2022), Dkt. 1786 (the “FCR Appointment

Order”). I served in that role until the 2021 Chapter 11 Case was dismissed. See Dismissal

Order ¶ 10. In that role, I actively participated in the 2021 Chapter 11 Case, including in the

court-ordered process for estimating the number and value of current and future mesothelioma

and ovarian cancer claims, and in mediation. As a result of my participation, I became familiar

with the Debtor, its history, including in litigation, and its talc liabilities.

                 4.     In my fiduciary role as the legal representative for future talc claimants

(the “Future Claimants’ Representative”), I would be able to act in accordance with a duty of

independence from the Debtor and other parties in interest in the Chapter 11 Case and a duty of

undivided loyalty to the future talc claimants. Given my prior role as Future Claimants’

Representative in the 2021 Chapter 11 Case, I would be an effective advocate for the best

interests of the future talc claimants in this Chapter 11 Case.

                 5.     I submit this declaration in compliance with and to provide disclosure

pursuant to Bankruptcy Rule 2014(a). Unless otherwise stated in this declaration, I have

personal knowledge of the facts hereinafter set forth. To the extent that any information

disclosed herein may require amendment or modification upon further analysis by me or as




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additional creditor information becomes available or if any new relevant facts or relationships

are discovered by me or made known to me, I will submit a supplemental declaration.

                 6.       I and my Firm have performed a conflicts check based on the information

provided by the Debtor including the “Interested Parties” list attached hereto as Schedule 2.

Based upon such review, to the best of my knowledge, information, and belief, neither I, the

Firm, nor members thereof, insofar as I have been able to ascertain at this time, has any

connection with the Debtor, the U.S. Trustee, or any other party in interest in the

above-captioned case, or its respective attorneys, except for the following:

                 (a)      During the course of the 2021 Chapter 11 Case, I was compensated for my
                          services as the Future Claimants’ Representative in that case pursuant to
                          the FCR Appointment Order, which compensation totaled $868,443.60 in
                          fees and $12,225.68 in expenses. As of the Petition Date, a total of
                          $72,766.90 remained outstanding for my services in the 2021 Chapter 11
                          Case. I understand that the Debtor intends to file a motion with this Court
                          seeking authority to pay all amounts that it owes under the Dismissal
                          Order, including the fees and expenses that are allowed pursuant to the
                          procedures set forth in the Dismissal Order. Accordingly, subject to
                          authorization from this Court to permit the Debtor to pay its outstanding
                          obligations under the Dismissal Order, the $72,766.90 that remain
                          outstanding will be fully satisfied pursuant to the Dismissal Order.

                 (b)      The firm of Walsh, Pizzi, O’Reilly, Falnaga LLP represented me in my
                          capacity as the legal representative for future claimants in the 2021
                          Chapter 11 Case.

                 7.       Neither I, my Firm nor any of my Firm’s members hold any direct equity

interest in the Debtor.

                 8.       Accordingly, insofar as I have been able to ascertain, except as otherwise

disclosed herein, neither I, my Firm, nor any member or associate thereof, has any connection

with the Debtor, its disclosed creditors, or any other party in interest, their respective attorneys

and accountants, the U.S. Trustee, or any person employed in the office of the U.S. Trustee.

Further, neither I, the Firm, nor any member or associate thereof, insofar as I have been able to


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ascertain, represents any interest adverse to that of the estate, the Debtor, or any other party in

interest in this case.

                 9.      I have no agreement with any other entity to share with such entity any

compensation received by me in connection with the Debtor’s bankruptcy case, other than with

respect to my law firm.

                 10.     Neither I, nor my Firm have been employed by, or received any

compensation from, the Debtor or any other party in connection with this Chapter 11 Case, nor

has any agreement been made as to compensation to be paid, except as provided in the Motion.

                 11.     My current hourly billing rate is $1,015. This rate is subject to

adjustment, usually on January 1 of each year. If appointed as Future Claimants’ Representative

in this case, I will seek reimbursement, as allowed pursuant to the Bankruptcy Code, the

Bankruptcy Rules and the rules and orders of this Court, of my fees at my then applicable rate

and expenses.

                 12.     If appointed, it is my intention to engage other professionals to assist me

in performing my duties as Future Claimants’ Representative. Any such engagements shall be

made through application to this Court, and any fees and expenses associated with such

engagements shall be subject to this Court’s review and approval, after notice and opportunity

for hearing.

                 13.     Consistent with the FCR Appointment Order, the Debtor shall pay for the

Future Claimants’ Representative Liability Insurance, the cost of which is expected to be

approximately $100,000 per year and which insurance I shall obtain once appointed.

                 14.     Based on the information available to me, and except as otherwise

described herein, I hold no interest adverse to the Debtor and its estate, or to any other party in



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                                Schedule 1
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                               LTL Management LLC
                             Potentially Interested Parties


Debtor                                         AMO Norway AS
LTL Management LLC                             AMO Puerto Rico Manufacturing, Inc.
                                               AMO Sales and Service, Inc.
Direct Equity Owner of Debtor                  AMO Singapore Pte. Ltd.
Johnson & Johnson Holdco (NA) Inc.             AMO Spain Holdings, LLC
                                               AMO Switzerland GmbH
Debtor’s Direct Non-Debtor Subsidiary          AMO United Kingdom, Ltd.
Royalty A&M LLC                                AMO Uppsala AB
                                               Anakuria Therapeutics, Inc.
Other Non-Debtor Affiliates                    AorTx, Inc.
3Dintegrated ApS                               Apsis SAS
ABD Holding Company, Inc.                      Aragon Pharmaceuticals, Inc.
ABIOMED R&D, Inc.                              Asia Pacific Holdings, LLC
ABIOMED, Inc.                                  Atrionix, Inc.
Acclarent, Inc.                                AUB Holdings LLC
Actelion Ltd                                   Auris Health, Inc.
Actelion Pharmaceuticals Ltd                   Backsvalan 6 Handelsbolag
Actelion Pharmaceuticals Trading               Beijing Dabao Cosmetics Co., Ltd.
   (Shanghai) Co., Ltd.                        BeneVir BioPharm, Inc.
Actelion Pharmaceuticals US, Inc.              Berna Rhein B.V.
Actelion Treasury Unlimited Company            BioMedical Enterprises, Inc.
Albany Street LLC                              Biosense Webster (Israel) Ltd.
ALZA Corporation                               Biosense Webster, Inc.
Alza Land Management, Inc.                     Breethe, Inc.
AMO (Hangzhou) Co., Ltd.                       C Consumer Products Denmark ApS
AMO (Shanghai) Medical Devices                 Carlo Erba OTC S.r.l.
   Trading Co., Ltd.                           Centocor Biologics, LLC
AMO ASIA LIMITED                               Centocor Research & Development, Inc.
AMO Australia Pty Limited                      Cerenovus, Inc.
AMO Canada Company                             ChromaGenics B.V.
AMO Denmark ApS                                Ci:z. Labo Co., Ltd.
AMO Development, LLC                           Cilag AG
AMO France                                     Cilag GmbH International
AMO Germany GmbH                               Cilag Holding AG
AMO Groningen B.V.                             Cilag Holding Treasury Unlimited Company
AMO International Holdings                     Cilag-Biotech, S.L.
   Unlimited Company                           Coherex Medical, Inc.
AMO Ireland                                    ColBar LifeScience Ltd.
AMO Italy SRL                                  Consumer Test Entity
AMO Japan K.K.                                 Cordis de Mexico, S.A. de C.V.
AMO Manufacturing USA, LLC                     Corimmun GmbH
AMO Netherlands BV                             CoTherix Inc.
AMO Nominee Holdings, LLC                      CRES Holdings, Inc.

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CrossRoads Extremity Systems, LLC             Hansen Medical UK Limited
CSATS, Inc.                                   Hansen Medical, Inc.
Debs-Vogue Corporation                        Healthcare Services (Shanghai) Ltd.
   (Proprietary) Limited                      I.D. Acquisition Corp.
DePuy Hellas SA                               Innomedic Gesellschaft für innovative
DePuy International Limited                      Medizintechnik und Informatik mbH
DePuy Ireland Unlimited Company               J & J Company West Africa Limited
DePuy Mexico, S.A. de C.V.                    J&J Argentina S.A.
DePuy Mitek, LLC                              J&J Pension Trustees Limited
DePuy Orthopaedics, Inc.                      J&J Productos Medicos & Farmaceuticos
DePuy Products, Inc.                             del Peru S.A.
DePuy Spine, LLC                              J.C. General Services BV
DePuy Synthes Institute, LLC                  Janssen Biologics (Ireland) Limited
DePuy Synthes Products, Inc.                  Janssen Biologics B.V.
DePuy Synthes Sales, Inc.                     Janssen BioPharma, LLC
DePuy Synthes, Inc.                           Janssen Biotech, Inc.
Dutch Holding LLC                             Janssen Cilag Farmaceutica S.A.
ECL7, LLC                                     Janssen Cilag S.p.A.
EES Holdings de Mexico,                       Janssen Cilag SPA
   S. de R.L. de C.V.                         Janssen Cilag, C.A.
EES, S.A. de C.V.                             Janssen Development Finance Unlimited
EIT Emerging Implant Technologies GmbH           Company
Ethicon Endo-Surgery (Europe) GmbH            Janssen Egypt LLC
Ethicon Endo-Surgery, Inc.                    Janssen Farmaceutica Portugal Lda
Ethicon Endo-Surgery, LLC                     Janssen France Treasury Unlimited
Ethicon LLC                                      Company
Ethicon Sarl                                  Janssen Global Services, LLC
Ethicon US, LLC                               Janssen Holding GmbH
Ethicon Women's Health & Urology Sarl         Janssen Inc.
Ethicon, Inc.                                 Janssen Irish Finance Unlimited Company
Ethnor (Proprietary) Limited                  Janssen Japan Treasury Unlimited Company
Ethnor del Istmo S.A.                         Janssen Korea Ltd.
Ethnor Farmaceutica, S.A.                     Janssen Mexico Treasury
Finsbury (Development) Limited                   Unlimited Company
Finsbury (Instruments) Limited                Janssen Oncology, Inc.
Finsbury Medical Limited                      Janssen Ortho LLC
Finsbury Orthopaedics International Limited   Janssen Pharmaceutica
Finsbury Orthopaedics Limited                    (Proprietary) Limited
FMS Future Medical System SA                  Janssen Pharmaceutica NV
GATT Technologies B.V.                        Janssen Pharmaceutica S.A.
GH Biotech Holdings Limited                   Janssen Pharmaceutical K.K.
Global Investment Participation B.V.          Janssen Pharmaceutical Sciences
GMED Healthcare BV                               Unlimited Company
Guangzhou Bioseal Biotech Co., Ltd.           Janssen Pharmaceutical Unlimited Company
Hansen Medical Deutschland GmbH               Janssen Pharmaceuticals, Inc.
Hansen Medical International, Inc.            Janssen Products, LP


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Janssen R&D Ireland Unlimited Company        JNJ International Investment LLC
Janssen Research & Development, LLC          JNTL (APAC) HoldCo 2 LLC
Janssen Sciences Ireland                     JNTL (APAC) HoldCo 3 Pte. Ltd.
   Unlimited Company                         JNTL (APAC) HoldCo LLC
Janssen Scientific Affairs, LLC              JNTL (APAC) HoldCo Pte. Ltd.
Janssen Supply Group, LLC                    JNTL (Japan) HoldCo Inc.
Janssen Vaccines & Prevention B.V.           JNTL (Malaysia) Sdn. Bhd.
Janssen Vaccines Corp.                       JNTL (Middle East) HoldCo LLC
Janssen-Cilag                                JNTL (Puerto Rico) HoldCo GmbH
Janssen-Cilag (New Zealand) Limited          JNTL (Shanghai) Investment Co., Ltd.
Janssen-Cilag A/S                            JNTL (Switzerland) HoldCo GmbH
Janssen-Cilag AG                             JNTL (Thailand) HoldCo LLC
Janssen-Cilag Aktiebolag                     JNTL (UK) HoldCo Limited
Janssen-Cilag AS                             JNTL Consumer Health (Belgium) BV
Janssen-Cilag B.V.                           JNTL Consumer Health (Brazil) Ltda.
Janssen-Cilag d.o.o. Beograd                 JNTL Consumer Health
Janssen-Cilag de Mexico S. de R.L. de C.V.     (Czech Republic) s.r.o.
Janssen-Cilag Farmaceutica Lda.              JNTL Consumer Health
Janssen-Cilag Farmaceutica Ltda.               (Dominican Republic), S.A.S.
Janssen-Cilag GmbH                           JNTL Consumer Health (Finland) Oy
Janssen-Cilag International NV               JNTL Consumer Health (France) SAS
Janssen-Cilag Kft.                           JNTL Consumer Health (Hungary) Kft
Janssen-Cilag Limited                        JNTL Consumer Health (India)
Janssen-Cilag Manufacturing, LLC               Private Limited
Janssen-Cilag NV                             JNTL Consumer Health
Janssen-Cilag OY                               (New Zealand) Limited
Janssen-Cilag Pharma GmbH                    JNTL Consumer Health (Norway) AS
Janssen-Cilag Pharmaceutical S.A.C.I.        JNTL Consumer Health (Philippines) Inc.
Janssen-Cilag Polska, Sp. z o.o.             JNTL Consumer Health (Poland) sp. z o.o.
Janssen-Cilag Pty Ltd                        JNTL Consumer Health (Portugal) Limitada
Janssen-Cilag S.A.                           JNTL Consumer Health (Services) LLC
Janssen-Cilag s.r.o.                         JNTL Consumer Health (Slovakia), s.r.o.
Janssen-Cilag, S.A.                          JNTL Consumer Health (Spain), S.L.
Janssen-Cilag, S.A. de C.V.                  JNTL Consumer Health (Taiwan) Limited
Janssen-Pharma, S.L.                         JNTL Consumer Health (Vietnam) Co. Ltd.
J-C Health Care Ltd.                         JNTL Consumer Health General
Jevco Holding, Inc.                            Services BV
JJ Surgical Vision Spain, S.L.               JNTL Consumer Health I (Ireland) Limited
JJC Acquisition Company B.V.                 JNTL Consumer Health I
JJHC, LLC                                       (Switzerland) GmbH
JJSV Belgium BV                              JNTL Consumer Health II
JJSV Manufacturing Malaysia SDN. BHD.          (Switzerland) GmbH
JJSV Norden AB                               JNTL Consumer Health LLC
JJSV Produtos Oticos Ltda.                   JNTL Consumer Health Mexico,
JNJ Global Business Services s.r.o.            S. de R.L. de C.V.
JNJ Holding EMEA B.V.


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JNTL Consumer Health Middle                  Johnson & Johnson China Ltd.
   East FZ-LLC                               Johnson & Johnson Consumer
JNTL HoldCo 2 LLC                               (Hong Kong) Limited
JNTL HoldCo 3 LLC                            Johnson & Johnson Consumer
JNTL HoldCo 4 LLC                               (Thailand) Limited
JNTL HoldCo 5 LLC                            Johnson & Johnson Consumer B.V.
JNTL HoldCo 6 LLC                            Johnson & Johnson Consumer
JNTL HoldCo 7 LLC                               Holdings France
JNTL HoldCo 8 LLC                            Johnson & Johnson Consumer Inc.
JNTL HoldCo LLC                              Johnson & Johnson Consumer NV
JNTL Holdings 2, Inc.                        Johnson & Johnson Consumer
JNTL Holdings 3, Inc.                           Saudi Arabia Limited
JNTL Holdings B.V.                           Johnson & Johnson Consumer Services
JNTL Holdings, Inc.                             EAME Ltd.
JNTL Ireland HoldCo 2 B.V.                   Johnson & Johnson d.o.o.
JNTL Netherlands HoldCo B.V.                 Johnson & Johnson de Argentina S.A.C. e. I.
JNTL Turkey Tüketici Sağlığı                 Johnson & Johnson de Chile S.A.
   Limited Şirketi                           Johnson & Johnson de Colombia S.A.
Johnson & Johnson                            Johnson & Johnson de Mexico, S.A. de C.V.
Johnson & Johnson - Societa' Per Azioni      Johnson & Johnson de Uruguay S.A.
Johnson & Johnson (Angola), Limitada         Johnson & Johnson de Venezuela, S.A.
Johnson & Johnson (Australia) Pty Ltd        Johnson & Johnson del Ecuador, S.A.
Johnson & Johnson (Canada) Inc.              Johnson & Johnson Del Paraguay, S.A.
Johnson & Johnson (China) Investment Ltd.    Johnson & Johnson del Peru S.A.
Johnson & Johnson (Ecuador) S.A.             Johnson & Johnson do Brasil Industria E
Johnson & Johnson (Egypt) S.A.E.                Comercio de Produtos Para Saude Ltda.
Johnson & Johnson (Hong Kong) Limited        Johnson & Johnson Dominicana, S.A.S.
Johnson & Johnson (Ireland) Limited          Johnson & Johnson Enterprise
Johnson & Johnson (Jamaica) Limited             Innovation Inc.
Johnson & Johnson (Kenya) Limited            Johnson & Johnson European Treasury
Johnson & Johnson (Middle East) Inc.            Unlimited Company
Johnson & Johnson (Mozambique),              Johnson & Johnson Finance Corporation
   Limitada                                  Johnson & Johnson Finance Limited
Johnson & Johnson (Namibia)                  Johnson & Johnson Financial
   (Proprietary) Limited                        Services GmbH
Johnson & Johnson (New Zealand) Limited      Johnson & Johnson for Export and
Johnson & Johnson (Philippines), Inc.           Import LLC
Johnson & Johnson (Private) Limited          Johnson & Johnson Gateway, LLC
Johnson & Johnson (Singapore)                Johnson & Johnson Gesellschaft m.b.H.
   Holdco LLC                                Johnson & Johnson GmbH
Johnson & Johnson (Thailand) Ltd.            Johnson & Johnson GT, Sociedad Anónima
Johnson & Johnson (Trinidad) Limited         Johnson & Johnson Guatemala, S.A.
Johnson & Johnson (Vietnam) Co., Ltd         Johnson & Johnson Health and Wellness
Johnson & Johnson AB                            Solutions, Inc.
Johnson & Johnson AG                         Johnson & Johnson Health Care
Johnson & Johnson Bulgaria EOOD                 Systems Inc.


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Johnson & Johnson Hellas Commercial and     Johnson & Johnson Medical Mexico,
   Industrial S.A.                             S.A. de C.V.
Johnson & Johnson Hellas                    Johnson & Johnson Medical NV
   Consumer Products                        Johnson & Johnson Medical
   Commercial Societe Anonyme                  Products GmbH
Johnson & Johnson Hemisferica S.A.          Johnson & Johnson Medical Pty Ltd
Johnson & Johnson Holdco (NA) Inc.          Johnson & Johnson Medical S.A.
Johnson & Johnson Holding GmbH              Johnson & Johnson Medical S.p.A.
Johnson & Johnson Holdings                  Johnson & Johnson Medical SAS
   (Austria) GmbH                           Johnson & Johnson Medical
Johnson & Johnson Inc.                         Saudi Arabia Limited
Johnson & Johnson Industrial Ltda.          Johnson & Johnson Medical Taiwan Ltd.
Johnson & Johnson Innovation - JJDC, Inc.   Johnson & Johnson Medical, S.C.S.
Johnson & Johnson Innovation Limited        Johnson & Johnson Medikal Sanayi ve
Johnson & Johnson Innovation LLC               Ticaret Limited Sirketi
Johnson & Johnson International             Johnson & Johnson MedTech
Johnson & Johnson International                (Thailand) Ltd.
   (Singapore) Pte. Ltd.                    Johnson & Johnson Medtech
Johnson & Johnson International Financial      Colombia S.A.S.
   Services Unlimited Company               Johnson & Johnson Middle East FZ-LLC
Johnson & Johnson Irish Finance             Johnson & Johnson Morocco
   Company Limited                             Societe Anonyme
Johnson & Johnson K.K.                      Johnson & Johnson Nordic AB
Johnson & Johnson Kft.                      Johnson & Johnson Pacific Pty Limited
Johnson & Johnson Korea Selling &           Johnson & Johnson Pakistan
   Distribution LLC                            (Private) Limited
Johnson & Johnson Korea, Ltd.               Johnson & Johnson Panama, S.A.
Johnson & Johnson Limited                   Johnson & Johnson Personal Care
Johnson & Johnson LLC                          (Chile) S.A.
Johnson & Johnson Luxembourg Finance        Johnson & Johnson Pharmaceutical Ltd.
   Company Sarl                             Johnson & Johnson Poland Sp. z o.o.
Johnson & Johnson Management Limited        Johnson & Johnson Private Limited
Johnson & Johnson Medical (China) Ltd.      Johnson & Johnson Pte. Ltd.
Johnson & Johnson Medical                   Johnson & Johnson Pty. Limited
   (Proprietary) Ltd                        Johnson & Johnson Romania S.R.L.
Johnson & Johnson Medical (Shanghai) Ltd.   Johnson & Johnson S.E. d.o.o.
Johnson & Johnson Medical (Suzhou) Ltd.     Johnson & Johnson S.E., Inc.
Johnson & Johnson Medical B.V.              Johnson & Johnson Sante Beaute France
Johnson & Johnson Medical Devices &         Johnson & Johnson SDN. BHD.
   Diagnostics Group - Latin America,       Johnson & Johnson Services, Inc.
   L.L.C.                                   Johnson & Johnson Surgical Vision India
Johnson & Johnson Medical GmbH                 Private Limited
Johnson & Johnson Medical Greece            Johnson & Johnson Surgical Vision, Inc.
   Single Member S.A.                       Johnson & Johnson Taiwan Ltd.
Johnson & Johnson Medical Korea Ltd.        Johnson & Johnson UK Treasury
Johnson & Johnson Medical Limited              Company Limited


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Johnson & Johnson Ukraine LLC               Mentor Medical Systems B.V.
Johnson & Johnson Urban                     Mentor Partnership Holding
   Renewal Associates                          Company I, LLC
Johnson & Johnson Vision Care               Mentor Texas GP LLC
   (Australia) Pty Ltd                      Mentor Texas L.P.
Johnson & Johnson Vision Care               Mentor Worldwide LLC
   (Shanghai) Ltd.                          Middlesex Assurance Company Limited
Johnson & Johnson Vision Care Ireland       Momenta Ireland Limited
   Unlimited Company                        Momenta Pharmaceuticals, Inc.
Johnson & Johnson Vision Care, Inc.         NeoStrata Company, Inc.
Johnson & Johnson Vision Korea, Ltd.        NeoStrata UG (haftungsbeschränkt)
Johnson & Johnson, Lda                      Netherlands Holding Company
Johnson & Johnson, S.A.                     Neuravi Limited
Johnson & Johnson, S.A. de C.V.             NeuWave Medical, Inc.
Johnson & Johnson, s.r.o.                   Novira Therapeutics, LLC
Johnson & Johnson, s.r.o.                   NuVera Medical, Inc.
Johnson and Johnson (Proprietary) Limited   Obtech Medical Mexico, S.A. de C.V.
Johnson and Johnson Sihhi Malzeme Sanayi    OBTECH Medical Sarl
  Ve Ticaret Limited Sirketi                OGX Beauty Limited
Johnson Y Johnson de Costa Rica, S.A.       OMJ Holding GmbH
JOM Pharmaceutical Services, Inc.           OMJ Pharmaceuticals, Inc.
Kenvue Inc.                                 Omrix Biopharmaceuticals Ltd.
La Concha Land Investment Corporation       Omrix Biopharmaceuticals NV
McNeil AB                                   Omrix Biopharmaceuticals, Inc.
McNeil Consumer Pharmaceuticals Co.         Ortho Biologics LLC
McNeil Denmark ApS                          Ortho Biotech Holding LLC
McNeil Healthcare (Ireland) Limited         Orthospin Ltd.
McNeil Healthcare (UK) Limited              Orthotaxy SAS
McNeil Healthcare LLC                       Patriot Pharmaceuticals, LLC
McNeil Iberica S.L.U.                       Peninsula Pharmaceuticals, LLC
McNeil LA LLC                               Percivia LLC
McNEIL MMP, LLC                             Pharmadirect Ltd.
McNeil Nutritionals, LLC                    Pharmedica Laboratories
McNeil Panama, LLC                             (Proprietary) Limited
McNeil Products Limited                     preCARDIA, Inc.
McNeil Sweden AB                            Princeton Laboratories, Inc.
Medical Device Business Services, Inc.      Productos de Cuidado Personal y
Medical Devices & Diagnostics                  de La Salud de Bolivia S.R.L.
   Global Services, LLC                     Proleader S.A.
Medical Devices International LLC           Prosidyan, Inc.
Medos International Sarl                    PT Integrated Healthcare Indonesia
Medos Sarl                                  PT Johnson & Johnson Indonesia
MegaDyne Medical Products, Inc.             PT Johnson and Johnson Indonesia Two
Menlo Care De Mexico, S.A. de C.V.          Pulsar Vascular, Inc.
Mentor B.V.                                 Regency Urban Renewal Associates
Mentor Deutschland GmbH                     RespiVert Ltd.


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Review Manager Test Entity 2                Managers and Officers of the Debtor
Royalty A&M LLC                             John Kim
Rutan Realty LLC                            Richard Dickinson
Scios LLC                                   Robert Wuesthoff
Serhum S.A. de C.V.                         Russell Deyo
Shanghai Elsker Mother & Baby Co., Ltd
Shanghai Johnson & Johnson Ltd.             Major Current Business Affiliations of
Shanghai Johnson & Johnson                  Debtor’s Managers
   Pharmaceuticals Ltd.                     American Foundation for Opioid
Sodiac ESV                                    Alternatives
Spectrum Vision Limited Liability Company   Migration Policy Institute
Spectrum Vision Limited Liability           Miller Center for Community Protection &
   Partnership                                Reliance, Eagleton Institute of Politics,
SterilMed, Inc.                               Rutgers University
Surgical Process Institute                  National Center for State Courts
   Deutschland GmbH                         National Council, McLean Hospital
Synthes Costa Rica S.C.R., Limitada         One Mind
SYNTHES GmbH
Synthes GmbH                                Depository and Disbursement Banks
Synthes Holding AG                          Bank of America, N.A.
Synthes Holding Limited
SYNTHES Medical Immobilien GmbH             Major Sureties
Synthes Medical Surgical Equipment &        Chubb
   Instruments Trading LLC                  Federal Insurance Company
Synthes Produktions GmbH                    Liberty Mutual Insurance Company
Synthes Proprietary Limited                 Travelers Casualty and Surety Company
Synthes S.M.P., S. de R.L. de C.V.             of America
Synthes Tuttlingen GmbH
Synthes USA Products, LLC                   Parties to Material Contracts With the
Synthes USA, LLC                            Debtor
Synthes, Inc.                               Johnson & Johnson
TARIS Biomedical LLC                        Johnson & Johnson Holdco (NA) Inc.
TearScience, Inc.                           Johnson & Johnson Services, Inc.
The Anspach Effort, LLC
The Vision Care Institute, LLC              Significant Co-Defendants in
Tibotec, LLC                                Talc-Related Litigation
Torax Medical, Inc.                         3M Company
UAB "Johnson & Johnson"                     A.O. Smith Corporation
Vania Expansion                             Albertsons Companies, Inc.
Verb Surgical Inc.                          Avon Products, Inc.
Vision Care Finance Unlimited Company       Barretts Minerals, Inc.
Vogue International LLC                     BASF Catalysts LLC
WH4110 Development Company, L.L.C.          Block Drug Company, Inc.
Xian Janssen Pharmaceutical Ltd.            Borg Warner Morse Tec, Inc.
XO1 Limited                                 Brenntag North America
Zarbee's, Inc.                              Brenntag Specialties, Inc.


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Bristol-Myers Squibb Company                Macy's, Inc.
Carrier Corporation                         Mary Kay Inc.
Chanel, Inc.                                Maybelline LLC
Charles B. Chrystal Co., Inc.               Metropolitan Life Insurance Company
Chattem, Inc.                               Noxell Corporation
Colgate-Palmolive Company                   Personal Care Products Council
Conopco Inc.                                Pfizer, Inc.
Costco Wholesale Corporation                Pharma Tech Industries, Inc.
Coty, Inc.                                  Pneumo Abex, LLC
Crane Co.                                   PTI Royston, LLC
CVS Health Corporation                      Publix Super Markets, Inc.
CVS Pharmacy, Inc.                          R.T. Vanderbilt Holding Company, Inc.
Cyprus Amax Minerals Company                Ralphs Grocery Company
Cyprus Mines Corporation                    Revlon Consumer Products Corporation
Dana Companies, LLC                         Revlon, Inc.
DAP Products, Inc.                          Rite Aid Corporation
Dollar General Corporation                  Safeway, Inc.
Duane Reade Inc.                            Sanofi-Aventis U.S. LLC
Eaton Corporation                           Shulton, Inc.
Eli Lilly and Company                       Specialty Minerals Inc.
Elizabeth Arden, Inc.                       Target Corporation
Estee Lauder Inc.                           The Dow Chemical Company
Family Dollar Stores Inc.                   The Estee Lauder Companies, Inc.
Flowserve US, Inc.                          The Kroger Co.
FMC Corporation                             The Procter & Gamble Company
Food 4 Less of California, Inc.             Thrifty Payless, Inc.
Ford Motor Company                          Unilever Home & Personal Care USA
Foster Wheeler, LLC                         Union Carbide Corporation
Gardner Denver, Inc.                        Vanderbilt Minerals, LLC
General Electric Company                    ViacomCBS, Inc.
Genuine Parts Company                       Walgreen Co.
Goodyear Tire & Rubber Co.                  Walmart, Inc.
Goulds Pumps, LLC                           Warren Pumps, LLC
Grinnell LLC                                Whittaker Clark & Daniels, Inc.
Honeywell International, Inc.               Wyeth Holdings LLC
Imerys Talc America, Inc.                   Yves Saint Laurent America, Inc.
Imerys USA, Inc.
IMO Industries Inc.                         Debtor’s Proposed Professionals and
John Crane, Inc.                            Claims Agent
K&B Louisiana Corporation                   AlixPartners LLP
Kaiser Gypsum Company, Inc.                 Bates White LLC
Kmart Corporation                           Blake, Cassels & Graydon LLP
Kolmar Laboratories                         Epiq Corporate Restructuring LLC
Longs Drug Stores California                Hogan Lovells
L'Oreal USA, Inc.                           Jones Day
Lucky Stores, Inc.                          King & Spalding LLP


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McCarter & English, LLP                     Patterson Belknap Webb & Tyler LLP
Orrick, Herrington, & Sutcliffe, LLP        Proskauer Rose LLP
Shook, Hardy & Bacon L.L.P.                 Quattlebaum, Grooms & Tull PLLC
Skadden, Arps, Slate, Meager & Flom LLP     Schnader Harrison Segal & Lewis
Weil Gotshal & Manges LLP                   Schwabe Williamson & Wyatt
Wollmuth Maher & Deutsch LLP                Sills Cummis & Gross P.C.
                                            Stoel Rives LLP
Debtor’s Proposed Significant Ordinary      Sullivan Whitehead & Deluca LLP
Course Professionals, Consultants and       Swartz Campbell LLC
Service Providers                           The Weinhardt Law Firm
Adler Pollock & Sheehan PC                  Tucker Ellis LLP
Barrasso Usdin Kupperman                    Willcox & Savage, P.C.
Freeman & Sarver, L.L.C.
Blank Rome LLP                              Known Professionals for Certain
Butler Snow LLP                             Non-Debtor Parties in Interest
Carlton Fields, P.A.                        Barnes & Thornburg, LLP
Chehardy, Sherman, Williams,                Cravath, Swaine & Moore
   Recile, & Hayes                          White & Case LLP
Damon Key Leong Kupchak Hastert
Davis Hatley Haffeman & Tighe               Proposed Future Claimants’
Dechert LLP                                 Representative and Her Proposed
Elliott Law Offices, PA                     Professional
Faegre Drinker Biddle & Reath LLP           Randi S. Ellis
Foliart, Huff, Ottaway & Bottom             Walsh Pizzi O’Reilly Falanga LLP
Gibson, Dunn & Crutcher LLP
Goldman Ismail Tomaselli Brennan &          Material Potentially Indemnified Parties
   Baum                                     Bausch Health Companies Inc.
Hartline Barger                             Cyprus Mines Corporation
HeplerBroom LLC                             Cyprus Talc Corp.
Irwin Fritchie Urquhart & Moore LLC         Imerys Talc America, Inc.
Johnson & Bell Ltd.                         Imerys Talc Vermont, Inc.
Jones, Skelton & Hochuli, P.L.C.            Luzenac America, Inc.
Kaplan, Johnson, Abate & Bird LLP           Pharma Tech Industries, Inc.
Kelley Jasons McGowan Spinelli              PTI Royston, LLC
Hanna & Reber, LLP                          Rio Tinto America, Inc.
Kirkland & Ellis LLP                        RTZ America, Inc.
Kitch Drutchas Wagner                       Valeant Pharmaceuticals International, Inc.
Valitutti & Sherbrook                       Windsor Minerals Inc.
Lewis Brisbois Bisgaard & Smith, LLP        Costco Wholesale Corporation
Manion Gaynor & Manning LLP                 Publix Super Markets, Inc.
Manning Gross + Massenburg                  Rite Aid Corporation
Miles & Stockbridge                         Safeway Inc.
Milligan & Herns                            Walmart Inc.
Morgan Lewis
Nelson Mullins Riley & Scarborough, LLP
Nutter McClennen & Fish LLP


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Parties Who Have Entered Into Plan          Key Parties in Imerys Talc America, Inc.
Support Agreements                          and Cyprus Mines Corp. Chapter 11 Cases
Andres Pereira Firm                         Cyprus Amax Minerals Company
Ferrer, Poirot & Wansbrough                 Cyprus Mines Corporation
Johnson Law Group                           Cyprus Talc Corporation
Liakos Law, APC                             Imerys S.A.
Linville Law Group                          Imerys Talc America, Inc.
McDonald Worley                             Imerys Talc Vermont, Inc.
Nachawati Law Group                           (fka Windsor Minerals Inc.)
OnderLaw, LLC                               James L. Patton
Pulaski Kherkher PLLC                       Luzenac America, Inc.
Rueb Stoller Daniel, LLP                    Official Committee of Tort Claimants
Seeger Weiss LLP                               (In re Imerys Talc America, Inc.)
Slater Slater Schulman LLP                  Official Committee of Tort Claimants
Trammell PC                                    (In re Cyprus Mines Corp.)
Watts Guerra LLP                            Roger Frankel
Wisner Baum, LLP
                                            Debtor’s Insurers
Law Firms with Significant                  A.G. Securitas
Representations of Talc Claimants           ACE Property & Casualty Insurance
Andres Pereira Firm                            Company
Arnold & Itkin LLP                          Aetna Casualty and Surety Company
Aylstock, Witkin, Kreis &                   Affiliated FM Ins. Company
   Overholtz, PLLC                          AIG Europe S.A.
Beasley Allen Law Firm                      AIG Property and Casualty Company
Childers, Schlueter & Smith LLC             AIU Ins. Company
Ferrer, Poirot & Wansbrough                 Allianz Global Risks US
Johnson Law Group                              Insurance Company
Linville Law Group                          Allianz Ins. Company
McDonald Worley                             Allstate Insurance Company
Miller Firm, LLC                            American Centennial Ins. Company
Nachawati Law Group                         American Motorists Ins. Company
Napoli Shkolnik PLLC                        American Re-Insurance Company
OnderLaw, LLC                               Arrowood Indemnity Company
Pulaski Kherkher PLLC                       ASR Schadeverzekering N.V.
Robinson Calcagnie                          Assurances Generales De France
Rueb Stoller Daniel, LLP                    Assurantiekantoor VanWijk & Co.
Sanders, Phillips, Grossman, LLC            Atlanta International Insurance Company
Seeger Weiss LLP                            Birmingham Fire Ins. Company of
Slater Slater Schulman LLP                     Pennsylvania
Trammell PC                                 Central National Ins. Company of Omaha
Wagstaff Law Firm                           Century Indemnity Company
Watts Guerra LLP                            Champion Dyeing Allocation Year
Wisner Baum, LLP                            Chubb
                                            City Ins. Company
                                            Colonia Versicherungs AG, Koln


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Company of N.Y.                              National Union Fire Ins. Company of
Continental Insurance Company                   Pittsburgh, PA
Darag Deutsche Versicherungs-Und             Nationwide
Drake Ins. Company of New York               New Hampshire Ins. Company
Employers Ins. Company of Wausau             North River Ins. Company
Employers Ins. of Wausau                     Northbrook Excess and Surplus
Employers Mutual Casualty Company               Ins. Company
Eurinco Allgemeine                           Northeastern Fire Ins. Company
Everest Reinsurance Company                     of Pennsylvania
Fireman's Fund Ins. Company                  Pacific Employers Ins. Company
First State Ins. Company                     ProSight
GAP                                          Prudential Reinsurance Company
Gibraltar Casualty Company                   Puritan Insurance Company
Granite State Ins. Company                   Republic Indemnity Company of America
Great American                               Republic Ins. Company
Great Northern Ins. Company                  Republic Western Ins. Company
Great Southwest Fire Ins. Company            Repwest Insurance Company
Groupe Drouot                                Resolute Management Inc.
Harbor Ins. Company                          Rheinland Versicherungen
Hartford Accident and Indemnity Company      Rheinland Verzekeringen
Home Ins. Company                            Riverstone Insurers
Ideal Mutual Ins. Company                    Royal Belge I.R., S.A. d'Assurances
Industrial Indemnity Company                 Royal Indemnity Company
Ins. Company of North America                Royal Ins. Company
Ins. Company of the State of Pennsylvania    Rückversicherungs-AG
Ins. Corporation of Singapore Limited        Safety Mutual Casualty Corporation
Integrity Ins. Company                       Safety National Casualty Corporation
International Ins. Company                   Seguros La Republica SA
International Surplus Lines Ins. Company     Sentry Insurance A Mutual Company
Lexington Ins. Company                       Southern American Ins. Company
London Guarantee and Accident                Starr Indemnity & Liability Company
L'Union Atlantique S.A. d'Assurances         TIG Insurance Company
Maas Lloyd                                   Transamerica Premier Insurance Company
Mead Reinsurance Corporation                 Transit Casualty Company
Middlesex Assurance Company                  Travelers Casualty and Surety Company
Midland Ins. Company                         UAP
Midstates Reinsurance Corp.                  Union Atlantique d'Assurances S.A.
Mission Ins. Company                         Union Indemnity Ins. Company
Mission National Ins. Company                   of New York
Munich Reinsurance America, Inc.             Versicherungs AG, Dusseldorf
Mutual Fire, Marine, & Inland Ins.           Westchester Fire Insurance Company
   Company                                   Westport Insurance Corporation
N.V. De Ark                                  XL Ins. Company
N.V. Rotterdamse Assurantiekas
N.V. Schadeverzekeringsmaatschappij
National Casualty Company


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Potential Parties in Canadian Proceeding    Washington, D.C.
Cassels Brock & Blackwell LLP               West Virginia
Ernst & Young Inc.                          Wisconsin

States/Federal District With Consumer       The Office of the United States Trustee –
Protection Investigations/Actions           Region 3 – District of New Jersey
Alabama                                     Adam Shaarawy
Alaska                                      Adela Alfaro
Arkansas                                    Alexandria Nikolinos
Arizona                                     Angeliza Ortiz-Ng
Colorado                                    Daniel C. Kropiewnicki
Connecticut                                 David Gerardi
Delaware                                    Fran B. Steele
Florida                                     Francyne D. Arendas
Georgia                                     James Stives
Hawaii                                      Jeffrey Sponder
Idaho                                       Joseph C. Kern
Illinois                                    Kirsten K. Ardelean
Iowa                                        Lauren Bielskie
Kansas                                      Maggie McGee
Kentucky                                    Martha Hildebrandt
Maine                                       Michael Artis
Maryland                                    Neidy Fuentes
Massachusetts                               Peter J. D'Auria
Michigan                                    Robert J. Schneider, Jr.
Minnesota                                   Tia Green
Mississippi                                 Tina L. Oppelt
Montana                                     William J. Ziemer
Nebraska
Nevada                                      Bankruptcy Judges for the District
New Hampshire                               of New Jersey
New Jersey                                  Judge Andrew B. Altenburg, Jr.
New Mexico                                  Judge Christine M. Gravelle
New York                                    Judge Jerrold N. Poslusny, Jr.
North Carolina                              Judge John K. Sherwood
North Dakota                                Judge Kathryn C. Ferguson
Ohio                                        Judge Michael B. Kaplan
Oklahoma                                    Judge Rosemary Gambardella
Oregon                                      Judge Stacey L. Meisel
Rhode Island                                Judge Vincent F. Papalia
South Dakota
Texas
Utah
Vermont
Virginia
Washington


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